                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GRETCHEN S. STUART, M.D., et al.,                     )
                                                      )
                     Plaintiffs,                      )
                                                      )         CIVIL ACTION
v.                                                    )         Case No. 1:11-cv-00804
                                                      )
MICHAUX R. KILPATRICK, M.D., PhD,1 et                 )
al.,                                                  )
                                                      )
                     Defendants.

     NOTICE OF SUBSTITUTION OF COUNSEL FOR JULIE RIKELMAN

       In accordance with Local Civil Rule 83.1(e), Attorney Julie Rikelman respectfully

requests the clerk of the Court to withdraw her appearance as counsel for Plaintiffs

Gretchen S. Stuart, M.D.; David A. Grimes, M.D.; Amy Bryant, M.D.; A Woman’s

Choice of Greensboro, Inc.; 2 and A Woman’s Choice of Raleigh, Inc. Ms. Rikelman has

been nominated to the U.S. Court of Appeals for the First Circuit. Attorney Caroline

Sacerdote from the Center for Reproductive Rights has filed a notice of appearance in

this case and will substitute as counsel for the aforementioned Plaintiffs.




1
  Pursuant to Federal Rule of Civil Procedure 25(d), “when a public officer who is a party
in an official capacity . . . ceases to hold office,” the “officer’s successor is automatically
substituted as a party.” Here, the office of President of the North Carolina Medical Board
is, as of the date of this filing, now held by Michaux R. Kilpatrick, M.D., PhD, who is
therefore automatically substituted for Cheryl Walker-McGill, M.D.
2
  Decker & Watson, Inc., doing business as Piedmont Carolina Medical Clinic, a plaintiff
in this case, is now A Woman’s Choice of Greensboro, Inc.




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Dated: June 16, 2023

                                         Respectfully submitted,

                                         /s/ Julie Rikelman
                                         Julie Rikelman*
                                         Center for Reproductive Rights
                                         199 Water Street, 22nd Floor
                                         New York, NY 10038
                                         (917) 637-3670
                                         (917) 637-3666 Fax
                                         jrikelman@reprorights.org

                                         /s/ Caroline Sacerdote
                                         Caroline Sacerdote*
                                         Center for Reproductive Rights
                                         199 Water Street, 22nd Floor
                                         New York, NY 10038
                                         (917) 637-3646
                                         (917) 637-3666 Fax
                                         csacerdote@reprorights.org

                                         COUNSEL FOR GRETCHEN S.
                                         STUART, M.D., DAVID A. GRIMES,
                                         M.D., AMY BRYANT, M.D., DECKER
                                         & WATSON d/b/a PIEDMONT
                                         CAROLINA MEDICAL CLINIC, & A
                                         WOMAN’S CHOICE OF RALEIGH,
                                         INC.

                                         *By special appearance




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                              CERTIFICATE OF SERVICE

       I hereby certify that, on June 16, 2023, I electronically filed the foregoing Notice

of Substitution of Counsel with the clerk of the court using the CM/ECF system, which

will send a notice of electronic filing to counsel of record for all parties.


                                                   /s/ Caroline M. Sacerdote
                                                   Caroline M. Sacerdote*
                                                   Center for Reproductive Rights
                                                   199 Water Street, 22nd Floor
                                                   New York, NY 10038
                                                   Tel.: (917) 637-3646
                                                   csacerdote@reprorights.org

                                                   COUNSEL FOR GRETCHEN S.
                                                   STUART, M.D.; DAVID A. GRIMES,
                                                   M.D.; AMY BRYANT, M.D.; A
                                                   WOMAN’S CHOICE OF
                                                   GREENSBORO, INC.; & A WOMAN’S
                                                   CHOICE OF RALEIGH, INC.

                                                   *By special appearance




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